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7
                                UNITED STATES DISTRICT COURT
8

9                             EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,           )                Case No. 2:17-cr-00028 WBS
11
                                         )
12                     Plaintiff,        )                STIPULATION AND
                                         )                PROPOSED ORDER
13        v.                             )                CONTINUING MOTION FOR
                                         )                REVOCATION OF MAGISTRATE
14
     GAGIK NERSISYAN,                    )                JUDGE’S ORDER AUTHORIZING
15                                       )                RELEASE PENDING TRIAL
                       Defendant.        )
16   ____________________________________)
17

18                                           STIPULATION
19          With the Court’s permission, defendant Gagik Nersisyan, and plaintiff United States of
20   America, by and through their undersigned attorneys, hereby stipulate as follows:
21          The government’s Motion for Revocation of Magistrate Judge’s Order Authorizing
22   Release Pending Trial is now set to be heard March 20, 2017. By this stipulation, the parties
23   agree to continue the hearing on this Motion to April 17, 2017 at 9:00 a.m., and to exclude time
24   between March 20, 2017 and April 17, 2017 under Local Code T4.
25          1.      The parties agree and stipulate, and request that the Court find the following:
26                  a. The discovery associated with this case includes but is not limited to hundreds
27                     of hours of audio recordings that require translation.
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2                b. Counsel for defendant desires additional time to consult with his client, review

3                   the discovery provided and to conduct investigation and research related to the

4                   charges.

5                c. Counsel for defendant believes that failure to grant the above-requested

6                   continuance would deny counsel the reasonable time necessary for effective

7                   preparation, taking into account the exercise of due diligence.

8                d. The government does not object to the continuance.

9                e. Based on the above-stated findings, the ends of justice served by continuing

10                  the case as requested outweigh the interest of the public and the defendant in a

11                  trial within the original date prescribed under the Speedy Trial Act.

12               f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

13                  3161, et seq., within which the trial date must commence, the time period of

14                  March 20, 2017 to April 17, 2017, inclusive, is deemed excludable pursuant to

15                  18 U.S.C. § 3161(h)(7)(A), B(iv) and Local Code T4 because it results from a

16                  continuance granted by the Court at defendant’s request on the basis of the

17                  Court’s finding that the ends of justice served by taking such action outweigh

18                  the best interest of the public and the defendant in a speedy trial.

19               g. The defendant is presently detained under separate Order in Case number 16-

20                  00124 WBS and that matter is presently set for Judgment and Sentencing on

21                  the proposed new date for the hearing on this Motion, April 17, 2017 at

22                  9:00 a.m.

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24   //

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4          2.     Nothing in this stipulation and order shall preclude a finding that other provisions

5                 of the Speedy Trial Act dictate that additional time periods are excludable from

6                 the period within which a trial must commence.

7          IT IS SO STIPULATED.
                                                /s/ William J. Portanova
8    DATED: March 15, 2017                      ______________________________________
9
                                                WILLIAM J. PORTANOVA
                                                Counsel for Defendant
10                                              GAGIK NERSESYAN
11

12   DATED: March 15, 2017                      /s/ Brian Fogerty
                                                ______________________________________
13                                              BRIAN FOGERTY
                                                Assistant United States Attorney
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            IT IS SO FOUND AND ORDERED.
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     Dated: March 20, 2017
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